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                   EXHIBIT B
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1                IN THE UNITED STATES DISTRICT COURT
2              FOR THE SOUTHERN DISTRICT OF ILLINOIS
3     CATHERINE ALEXANDER,
4                  Plaintiff,
5     vs.                          Case No. 3:18-cv-0966-MJR-MAB
6     TAKE-TWO INTERACTIVE SOFTWARE,
7     INC., 2K GAMES, INC., 2K SPORTS,
8     INC., WORLD WRESTLING ENTERTAINMENT,
9     INC., VISUAL CONCEPTS ENTERTAINMENT,
10    YUKE'S CO., LTD., and YUKE'S LA, INC.,
11                 Defendants.
12    -----------------------------------------/
13
14                          ** CONFIDENTIAL **
15               Videotaped deposition of MARK LITTLE
16                          Novato, California
17                   Wednesday, August, 14, 2019
18                               9:21 a.m.
19
20
21    Job No.:     257052
22    Pages:     1 - 180
23    Stenographically reported by:
24                 Lorrie L. Marchant, CA CSR No. 10523
25                 RMR, CRR, CCRR, CLR
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1     what was the role of Visual Concepts in developing                   10:42:18
2     the WWE 2K16 game?                                                   10:42:19
3         A.     Sure.   So for WWE 2K16, Visual Concepts was              10:42:25
4     essentially running as the creative team for the                     10:42:32
5     game.    We would also -- we were co-developing the                  10:42:34
6     game with YUKE'S, so YUKE'S had been the historic                    10:42:37
7     developer.     They've been developing the game for                  10:42:41
8     over 20 years.     So they were the primary developers.              10:42:43
9     So they owned -- have the game engine, they have the                 10:42:47
10    largest amount of the developers on the project.                     10:42:49
11               But the Visual Concepts team would provide                10:42:52
12    ancillary support, creative direction.         And then              10:42:57
13    what we did is we also brought some of the                           10:42:59
14    technologies that we use on NBA and some of the                      10:43:02
15    advanced technologies we know from building modern                   10:43:05
16    games to help promote the WWE game and make it move                  10:43:08
17    forward.                                                             10:43:12
18        Q.     Okay.   But at the time that WWE 2K was                   10:43:12
19    developed, YUKE'S had a game engine in place for the                 10:43:16
20    WWE games; right?                                                    10:43:18
21        A.     Yes.                                                      10:43:20
22        Q.     Okay.   Did Visual Concepts provide                       10:43:20
23    technology that was later incorporated in the YUKE'S                 10:43:22
24    game engine?                                                         10:43:24
25               MS. CENDALI:   Objection to form.                         10:43:26


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1     as he shows in the game they're not involved with.                   10:52:32
2               Their involvement would be mostly limited                  10:52:35
3     to the publish -- publishing, marketing, promotion                   10:52:38
4     of the game, however they might have been involved.                  10:52:41
5     That would be the best of my knowledge.                              10:52:44
6         Q.    Okay.   What was the role of 2K Sports                     10:52:48
7     Incorporated in the depiction of Mr. Orton in the                    10:52:49
8     WWE games?                                                           10:52:52
9         A.    As I just stated, they're not involved --                  10:52:56
10    2K Sports is not involved in the development.       So               10:52:59
11    how he appears in the game is more on the                            10:53:02
12    development side.    So that would be more of a Visual               10:53:03
13    Concepts-YUKE'S activity.                                            10:53:06
14        Q.    I understand.                                              10:53:10
15        A.    2K Sports would be publishing and marketing                10:53:11
16    and anything that we did promotional materials of,                   10:53:13
17    which I don't recall when we have used them.                         10:53:15
18        Q.    Understood.                                                10:53:18
19              So is it accurate to say that neither                      10:53:19
20    2K Games nor 2K Sports had any role in the depiction                 10:53:21
21    of Mr. Orton in the video games?                                     10:53:24
22        A.    I mean, I would -- I would say that they                   10:53:34
23    didn't have any direct role.                                         10:53:42
24        Q.    Did they have an indirect role?                            10:53:43
25        A.    I was trying to think if they did have an                  10:53:45


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1     So in the motion capture studio, we will --                              11:17:17
2     for instance, with Randy Orton's entrance, we will                       11:17:20
3     have someone come in and perform the entrance in the                     11:17:23
4     exact same way and style as Randy Orton so that we                       11:17:26
5     can transfer it into the game.                                           11:17:28
6                    BY MR. FRIEDMAN:                                          11:17:29
7            Q.      I see.    Thank you.                                      11:17:29
8                    So -- so with Mr. Orton specifically, you                 11:17:32
9     did not use motion capture to get things like his                        11:17:34
10    gait or walk; correct?                                                   11:17:37
11           A.      We use -- I would not characterize it that                11:17:40
12    way.        We use motion capture to capture how he moves.               11:17:42
13    We just don't have Randy Orton himself do it due to                      11:17:46
14    accessibility.                                                           11:17:49
15           Q.      So there is an actor who is impersonating                 11:17:51
16    Randy Orton, and that actor is motion captured by                        11:17:54
17    Take-Two and later depicted as if he were                                11:17:58
18    Randy Orton; is that accurate?                                           11:18:01
19           A.      Yes, that would be more accurate.         And just        11:18:03
20    to clarify, these are actual wrestlers too, so it's                      11:18:05
21    not like Hollywood actors.            They're wrestlers as               11:18:08
22    well.                                                                    11:18:12
23           Q.      Sure.    Well, and that makes sense because               11:18:12
24    you're going for realism; right?                                         11:18:14
25           A.      "Authenticity" is generally the word I                    11:18:16


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1     would use.                                                            11:18:17
2         Q.    Authenticity.    Okay.                                      11:18:17
3               All right.    So following the topology stage               11:18:19
4     of photogrammetry, what's the next step?                              11:18:21
5         A.    At a high level, it involves the extraction                 11:18:28
6     of the skin detail from the photographs.           So that --         11:18:31
7         Q.    I'm sorry to cut you off because I am                       11:18:37
8     trying to understand this process.                                    11:18:40
9         A.    M-hm.                                                       11:18:44
10        Q.    Okay.   So let me get this straight.         You            11:18:44
11    take all the photographs; right?       From that single               11:18:46
12    set of a thousand photographs, approximately, you                     11:18:49
13    extract topology data and create a mesh; right?                       11:18:52
14        A.    M-hm.                                                       11:18:56
15        Q.    Okay.   Now, from that same set of                          11:18:56
16    photographs, you're extracting something else, and I                  11:18:58
17    think that's what you're starting to talking about;                   11:19:00
18    is that right?                                                        11:19:03
19        A.    That is correct.                                            11:19:03
20        Q.    Okay.   Now, what is the step after                         11:19:04
21    topology, then?                                                       11:19:06
22        A.    The -- this next step.      In general terms,               11:19:08
23    there's actually quite a few technical steps that                     11:19:10
24    I'm not an expert on.     The next step is the                        11:19:12
25    extraction of the detail on the skin for the                          11:19:17


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1     In the photo reference process, you start                             12:27:40
2     with a photograph, and then you go through a                          12:27:42
3     modeling process; right?        Correct?                              12:27:44
4         A.      Yes.    That is generally the steps.                      12:27:48
5         Q.      In that modeling process, there is artistic               12:27:50
6     input; is that accurate?                                              12:27:55
7                 MS. CENDALI:    Objection to form.                        12:27:57
8     Mischaracterizes his testimony.                                       12:27:58
9                 THE WITNESS:    The goal, just as we've said              12:28:00
10    before, is that we try and re-create these as                         12:28:03
11    authentically as possible.         So the process of doing            12:28:06
12    the modeling is the goal, and the objective is to                     12:28:10
13    re-create it as authentically as we can.                              12:28:13
14                So, in fact, it's not a wildly creative                   12:28:16
15    process.     It's more of a rote function of trying to                12:28:19
16    re-create what you see, to the best of our                            12:28:22
17    abilities.     And obviously there are limitations on                 12:28:26
18    what we can do in games.                                              12:28:28
19                BY MR. FRIEDMAN:                                          12:28:29
20        Q.      Okay.    So -- okay.    All right.    That's              12:28:30
21    fine.                                                                 12:28:32
22                MR. FRIEDMAN:     We can go off the record for            12:28:48
23    a moment.                                                             12:28:48
24                THE VIDEOGRAPHER:      Please stand by.                   12:28:50
25                We are off the record.       The time is 12:29.           12:28:51


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1     TV.                                                                   01:12:10
2           Q.    Understood.                                               01:12:12
3                 Okay.   My question, though, is did                       01:12:12
4     reproducing Mr. Orton's tattoos as they appear in                     01:12:14
5     real life contribute to the authenticity of the WWE                   01:12:18
6     video games?                                                          01:12:22
7           A.    I don't know that you could separate out                  01:12:23
8     tattoos.     It's Randy Orton as a person, his entire                 01:12:25
9     appearance, his persona, and the person that he is                    01:12:29
10    inside of the WWE.        That's the important part.   And            01:12:33
11    there's obviously many elements to that.                              01:12:36
12          Q.    Is one of those elements Randy Orton's                    01:12:39
13    tattoos?                                                              01:12:41
14          A.    I think the way I would say it is it's his                01:12:44
15    physical appearance, whatever that may comprise.                      01:12:47
16          Q.    Okay.   In your mind, does his physical                   01:12:50
17    appearance comprise his tattoos?                                      01:12:52
18          A.    Yes, you can see his tattoos.                             01:12:54
19          Q.    Okay.   So then going back a couple of                    01:12:55
20    questions, then, would you say that the reproduction                  01:12:57
21    of Randy Orton's tattoos as they appear in real life                  01:12:59
22    contributed to the realism of the WWE video games?                    01:13:02
23          A.    I mean, I think -- I think I said this many               01:13:06
24    times.     I tend to use the word "authentic."                        01:13:09
25          Q.    And I said "realism."     So I'll reask the               01:13:12


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1     question.     And I said earlier I was going to start                 01:13:15
2     using "authenticity," and I haven't.          Okay.   So              01:13:17
3     strike that previous question.                                        01:13:19
4                 Did the -- does the reproduction by                       01:13:22
5     Take-Two of Mr. Orton's tattoos, as they appear in                    01:13:25
6     real life, contribute to the authenticity of the WWE                  01:13:29
7     video games?                                                          01:13:31
8         A.      I think that his -- the appearance of                     01:13:32
9     Randy Orton as Randy Orton is the important part, to                  01:13:36
10    the best of our ability, in all aspects that are                      01:13:40
11    Randy Orton.                                                          01:13:42
12        Q.      Is one of those aspects his tattoos?                      01:13:42
13        A.      I mean, Randy Orton has tattoos on his                    01:13:51
14    body.                                                                 01:13:54
15        Q.      Right.   And you said that a bunch of                     01:13:54
16    aspects contribute to the authenticity of                             01:13:56
17    Randy Orton in the WWE games.        Okay?    So -- and now           01:13:58
18    you're saying that one of those aspects includes his                  01:14:02
19    tattoos.                                                              01:14:04
20                Am I following you so far?                                01:14:05
21        A.      I'm saying that our goal with him being                   01:14:06
22    authentic is for him to look exactly like he does on                  01:14:08
23    programming.     So however he looks on programming,                  01:14:10
24    that's what I'm trying to make him look like in the                   01:14:13
25    game.                                                                 01:14:15


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1     or as authentic as they can, right.          And so the               01:17:30
2     technique we use obviously captures everything                        01:17:34
3     that's on their skin.                                                 01:17:37
4          Q.    Right.    And one aspect of Mr. Orton's                    01:17:38
5     authenticity in real life is his tattoo of his                        01:17:41
6     current wife, Kim; right?                                             01:17:43
7          A.    That is how he appears.                                    01:17:47
8          Q.    Okay.    And if I told you that Mr. Orton has              01:17:48
9     done interviews with media and discussed the                          01:17:53
10    importance of his Kim tattoo, would you have any                      01:17:57
11    reason to think that that didn't occur?                               01:18:00
12               MS. CENDALI:    Outside the scope.                         01:18:04
13               But you may answer.                                        01:18:04
14               THE WITNESS:    I wouldn't believe that you                01:18:06
15    would make that story up to me, but I have no actual                  01:18:07
16    information on it.                                                    01:18:09
17               BY MR. FRIEDMAN:                                           01:18:10
18         Q.    So -- so then one aspect -- well, strike                   01:18:11
19    that.                                                                 01:18:15
20               So now let's look at the other tattoos.                    01:18:15
21    Right.    And we'll get back to my original question,                 01:18:17
22    and I'll just reask it again.        Okay.                            01:18:19
23               Was the reproduction of Mr. Orton's tattoos                01:18:22
24    as they appear in real life, did that contribute to                   01:18:25
25    the authenticity of the WWE video games?                              01:18:29


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1          A.    I think that the fact that we reproduce                    01:18:40
2     them as you see on TV is -- is the important part as                  01:18:44
3     he is, to be authentic.                                               01:18:47
4          Q.    Understood.     And one aspect of that                     01:18:49
5     authenticity is his real life tattoos.                                01:18:51
6                Do you agree?                                              01:18:53
7                MS. CENDALI:     Okay.   Asked and answered.               01:18:54
8                THE WITNESS:     I think the part I'm having               01:18:57
9     trouble separating out in my head is that we take                     01:18:58
10    photos of their bodies and their skin, and however                    01:19:02
11    they look is what goes on there.        I don't think I've            01:19:04
12    ever heard anyone tell me that a specific tattoo                      01:19:07
13    will make or break authenticity because it's an                       01:19:12
14    overall package.                                                      01:19:15
15               So, you know, there are little details,                    01:19:16
16    depending on the superstar or the wrestler from year                  01:19:19
17    to year, that might not be 100 percent correct.           And         01:19:23
18    the overall goal is that we get the majority of it                    01:19:26
19    correct.                                                              01:19:29
20               BY MR. FRIEDMAN:                                           01:19:30
21         Q.    Okay.                                                      01:19:30
22         A.    If that makes sense.                                       01:19:30
23         Q.    That does make a lot of sense.                             01:19:31
24               But my question wasn't about whether his                   01:19:33
25    reproduction of his tattoos would make or break the                   01:19:35


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